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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                                   Electronically Filed


ANGELA HARDIN, EXECUTRIX                     )
OF THE ESTATE OF CECILIA                     )
JOAN FLAHIFF                                 )
                                             )
               Plaintiff,                    )
                                             )
v.                                           )          CIVIL ACTION NO. 3:15-CV-630-JHM
                                             )
BARDSTOWN MEDICAL                            )
INVESTORS, LTD. d/b/a LIFE                   )
CARE CENTER OF BARDSTOWN                     )
                                             )
               Defendant.                    )


                                 NOTICE OF SETTLEMENT


       In accordance with the Court’s Standing Order, Local Rule 54.1, and the instruction of

the Court, Defendant Bardstown Medical Investors, LTD d/b/a Life Care Center of Bardstown

hereby submits this Notice of Settlement to notify the Court that both parties have reached a

settlement agreement in this matter and respectfully request that all future proceedings be

removed from the Court Docket. Upon completion of all settlement documents, an Agreed

Order of Dismissal will be filed with this Court.



                                             Respectfully Submitted,


                                             ___s/Danielle J. Lewis____________
                                             MIDDLETON REUTLINGER
                                             William K. Oldham
                                             Jennifer M. Barbour
                                             Danielle J. Lewis



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                                              Counsel for Defendant




                                CERTIFICATE OF SERVICE

         It is hereby certified that a true and exact copy of the foregoing was electronically filed
using the ECF Filing System, on this 21st day of January 2016, which provides notice and copies
to all counsel of record.


                                              ____s/Danielle J. Lewis____________
                                              Counsel for Defendant




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